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                             UNITED STATES DISTRICT COURT
                             SO U TH ER N DISTRIC T O F FL O R ID A
                           C aseN o.18-22802-CIV -m R TINEZ/A O R

DANIEL GETZ,individually and
on behalfofal1otherssim ilarly situated,

       Plaintiff,

V.

Dlu c'rv ,LLc,
vIA sA T ,lx c .,and
ACCELER ATED TscH x o l-o G y
sERv lcEs G Rou p,LLc.

       Defendants.


                                           O R DER

       THIS CAUSE came before the Courtupon Defendant Viasat,Inc.'s CçViaSat'') Motion to
CompelArbitration and to DismissorStay Proceedings(hereafter,GiMbtion to CompelArbitration'')
(D.E.15J;andDefendantDIRECTV,LLC'S(CGDIRECTV'')M otion andIncop oratedM emorandtlm to
DismisstheFirstAmendedComplaintPursuanttoRule12(b)(6)or,intheAltem ative,to StaytheCase
(hereafter,çdM otion toDismiss'')ED.E.20q.Thesematterswerereferredtotheundersignedplzrsuantto
28 U.S.C.j 636 by the Honorable Jose E.M artinez,Uzlited StatesDistrict Judge (D.E.36j. The
undersignedheldahearingonthesemattersonDecemàer12,2018(D.E.424.Forthereasonsstated
below,the M otion to ConlpelArbitration ED.E.15q and the M otion to Dismiss ED.E.20)are
D EN IED .

                       FA CTU A L AN D PR O CEDU R AL BA CK G R O UN D

       Thisclassaction isbroughtby PlaintiffDanielGetz('Tlaintiff),individually alld onbehalfof
a11otherssim ilarlysituated,againstDefendantsViasat,DIRECTV andA cceleratedTechnology Services

Group,LLC (sçAccelerated'') (together, Gr efendants'), alleging that they violated the Telephone
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    ConsumerProtection Act($$TCPA''),47U.S.C.j227 etsecl.,bysendingPlaintiffatelemmketing text
    message.SeeAmended ClassAction Complaint(hereafter,l:AmendedComplainf')ED.E.12at1-22.
           On April5,2016,Plaintiffentered into aCustomerAgreement(ltAgreemenf')with Viasatfor
    residentialinternetservices. See AgreementED.E.15-11. The Agreementcontained the following
    provisionregardingcontactinformation(hereafter,gGcontactProvision''l:
N

           8.2 Contact Infonnation. You agree that by entering into this Agreem ent and
           providing Viasatwith yourwirelessphone num berand/orany othertelephone number
           and/oryoure-mailaddress,Viasatoritsagentsmay contactyou for:(a)any account-
           related issuesby calling ortextingyou atsuch numberts)usingaprerecorded/artificial
           voiceortextm essagedelivered by an automatictelephonedialing system and/orusing a
           callmadeby liveindividualj,and/or(b)foranyaccount-related issuesorformarketing
           pup oses by sending an e-m ail to such e-m ail address. The consent provided here
           continueseven ifyouySelwiceterm inates.Ifyoudonotwishtoreceivem arketingem ails,
           you may follow the opt-outinstructionscontained in any such em ailby making an opt-
           outrequestorby visitingw ww.exede.com /opt-out.

    SeeAgreement(D.E.15-1at6q.
           TheAgreementalso containedthefollowing provision regarding disputeresolution (hereafter,
    çsArbitrationProvision''l:
           8.4    D ispute Resolution. To expedite resolution of issues and control the costs of
           disputes,you and V iasatagreethatany legalorequitable claim relating to thisA greem ent,
           any addendum,oryotlrSelwice(referredtoasa:GC1aim'')willberesolvedasfollows:W e
           willfirsttrytoresolveanyClaim intbrmally.Accordingly,neitherofusm ay startaformal
           proceeding untilatleast60 daysafteroneofusnotiffestheotherofaClaim in m iting
           (:sNotice''). You willsendyourNoticetotheaddressonthefirstpageofthisAgreement
           totheattention oftheViasatLegalDepartmentandwewillsendourNoticetoyourbilling
           address. Ifyou and Viasatareunabletoresolvethe Claim within 60 daysafterNoticeis
           received,then Viasatand you agree to arbitrate àny and allClaim s between us. This
           agreem entto arbitiateisintended to bebroadly interprded. Itincludes,butisnotlim ited
           to:
                    A ny Claim s arising outoforrelating to any aspectofthe relationship betw een
                    us,whetherbased incontract,gtatute,fraud,misrepresentation,tort,oranyother
                    legaltheory;
                  * Any Claim sthatarose before thisAp eem entorany prioragreementbetween
                      us;
                  @ Any Claimsthatarecurrentty the subjectofapurported classaction suitin
                    which you are nota m em berofa certifed class;and/or
                  * Any Claim sthatm ay arise afterthe term ination ofthis Agreem ent.

                                                     2
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1d.
                                             V                                  .
       TheAgreementineorporatedtheExedeSubscriberPlivacy Policyk
                                                               thereafter,tiprivaeyPolicy'').
1d.at2;PrivacyPolicy ED.E.27-1at5-92.ThePrivacyPolicystatedthatViasatmayuseitscustomers'
information,includingtheirphonenumbers,to,interalia,marketViasat'sservicesto itscustom ersand

engage third parties to help Viasat m arket its sérvices; and contact custom ers with information,

newsletterkandprom otionalmaterialsfrom Viasatoron behalfofitspartnersandax liates.SeePrivacy

Policy (D.E.27-1at7j.
       AfterPlaintiffended hisaccountrelationship with Viasat,hereceivedthefollowing textm essage

tohispèrsonalcellularphoneonFebruary9,2018(hereafter,thelû-fextM essage''):
       Exedécustom ers:OrderDIRECTV todayand getDIRECTV for$35/m9 + free$200VISA
       giftcard! 150 chnnnels. Callto order800-845-1010.

SeeAmendedComplaintED.E.12at74.
       PlaintiffcommencedthisclassactionagainstDefendantsonJuly 12,2018(D.E.1jand'
                                                                                 filedthe
AmendedComplainton August15,2018 (D.E.12j. ln theAlended Complaint,Plaintiffallegesthat
A ccelerated obtained Plaintiff's telephone num ber through its contracm alrelationship w ith V iasatand

DIRECTV,and thatPlaintiffreceived theTextM essage because Accelerated wasm arketing to form er

custom ers of Viasat in hopes of selling them new products offered by DIRECTV. See Am ended

ComplaintED.E.12 at7j.Plaintifffurtherallegesthattheimpersonaland genericnature ofthe Text
M essagedemonstratesthatDefendantsusedarlautomatictelephonedialingsystem (ç1ATDS''),towhich
he never consented,in violation of the TCPA. 1t
                                              -i
                                               zsat 8. He also alleges thatthe number used by
Defendantsto send the TextM essage was a çtlong code,''which is%ça standard lo-digitphone ntlmber

thatenabled D efendants to send textm essages en m asse,w hile deceiving recipients into believing that

them essagewaspersonalized and sentfrom atelephonenllmberoperatedbyanindividual.''Ld.,sat9.He
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claim s thatto send the TextM essage,Defendants utilized a combination ofhardware pnd software
systems,whichhadthecapacitytogenerateoystorerandom orsequentialnllmbersortodialsequentially
                     J

orrandomly in an automated fashion withouthuman intelwention. J.ia PlaintiffallegesthattheText
M essage caused him actualharm ,including invasion ofhisprivacy,aggravation,nnnoyance,intm sion

on seclusion,trespass,conversion,inconvenience and disnzption to his daily life. Id.
                                                                              .




       On August29,2018,Viasatfiled the instantM otion to CompelArbitration,arguing thatthe

Arbitration Provision isbinding and enforceable againstPlaintiff;thatPlaintiffsclaim fallswithin the

scope ofthe Agreem entand the Arbitration Provision;and thatthe claim sm ustbe arbitrated and the

instant case be dismissed or, in the alternative, stayçd pending the conclusion of the arbitration

ProceedingsED.E.15j.On September26,2018,PlaintifffiledhisResponseinOppositiontotheM otion
to CompelArbitration (hereafter,GlAzbitrationResponse'')arguingthathisclaimsareoutsidethescope
oftheArbitrationProvision(D.E.251.ViasatfileditsReplyinFurtherSupportofitsM otiontoCompel
Arbitration(hereafter,ClArbitrationReply'')onOctober3,2018 (D.E.272.
       On Septem ber 21,2018,DIRECTV filed the instantM otion to Dismiss,arguing thatPlaintiff

failed to suffciently alleke thatAccelerated used an ATDS tl?send the TextM essage ED.E.20j.
Alternatively,in its M otion to Dism iss,DIRECTV argues that the case should be stayed pending

completion oftheFederalCommtmicationsCommission's(;TCC'')rulemaldngprocessontheissueof
whatconstitm esap ATDS.1d.at14-19.On October5,2018,Plaintifffiled hisResponse in Opposition

to DIRECTV'S Motion to Dismiss (hereafter, Gr ismissà'l Response'') arguing that his pleading
suffcientlystatesaTCPA claim andthatanindefinitestay isnotwarranted (D.E.282.OnOctober12,
2018,DIRECTV fileditsReplyinSupportofitsM otiontoDismiss(hereafter,Gr ismissalReply'')ED.E.
32).OnDecember11,2018,PlaintifffiledaNoticeofSupplementalAuthorityih furthersupportofthe
Arbitration ResponseandtheDismissalResponseED.E.41j.
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                            M O TION TO COM PEL ARBITM TION

                                          A pplicable Law

       tT hevalidity ofan arbitration agreem entisgenerally governedbytheFederalArbitration Act,9

U.S.C.jj1etseq.(the$$FAA.
                        ''),whichwasenactedin 1925toreversethelongstandingjudicialhostility
towardarbitration.''Caleyv.Gulfstream AerospaceCorp.,428F.3d 1359,1367(11thCir.2005)(citing
M itsubishiM otors Corn.v.SolerChrysler-plymoutheInc.,473 U.S.614,626-27 (1985);W eeksv.
HardenM fg.Com .,291F.3d1307,1312(11thCir.2002)).<TheFAA embodies'alibçralfçderalpolicy
favoring arbitration agreements.'' ld.(citationsomitted). Pursuantto the FAA,a written arbitration
provision in a çscontract evidencing a transaction involving comm erce'' is çtvalid,irrevocable, and

enforceable,save upon such grounds as existat1aw orin equity for the revocation ofany contract.'' 9

U.S.C.j2.
       To determlnewhetherpartiesshould be compelled to arbitrate a dispute,courtsconsider:(1)
whetheran enforceablewdtten agreementto arbitrateexists;(2)whethertheissuesarearbitrable;and
(3)whetherthepartyseekingrbitrationhaswaivedtherightto arbitrate. Simsv.ClarendonNat.Ins.
C0.,336F.Supp.2d 1311,1326 (S.D.Fla.2004). Thelanguageofthecontractdefinesthescopeof
disputesthatare subjectto arbitration.Gamblev.New Enc.Auto Fin..Inc.,735F.App'x 664,665
(11thCir.2018)(citingE.E.O.C.v.W affeHouse.Inc.,534U.S.279,289(2002:.Gt'
                                                                       F henpartiesdefine
thetennsused in acontract,thosedefinitionsgovern theconstruction oftheèontract.''A11.M etalssInc.

v.HirïelyIndus.slnc.,222F.3d895,903(11thCir.2000)(citationsomitted).çtgcjoul'
                                                                            tsmaynotrequire
arbitration bem nd the scope ofthe contractualagreem ent,because çaparty cannotbe required to subm it

to arbitration any disputewhich he hasnotagreed so to subm it.''' Jpay.Inc.v.Kobel,904 F.3d 923,

929(11th Cir.2018)(quotingUnited SteelworkersofAm.v.W arrior& GulfNavigation Co.,363U.S.
574,582(1960:.
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                                            D iscujsion

       The parties do notdisputethatPlaintiffentered into a valid agreementto arbitrate with Viasat.

ViasatcontendsthatPlaintiff'sTCPA claim issubjecttoarbitration becausetheArbitrationProvision
coversany claim s,includingthosearisingaftertheterminationoftheAgreem ent.SeeM otionto Compel

Arbitration(D.E.15j;ArbitrationReplyED.E.271.PlaintiffarguesthathisTCPA claim fallsoutsidethe
scope of the Arbitration Provision because itdoesnotrelate to his form eraccountrelationship with

Viasatandbecauseitdoesnotm eettheArbitration Provision'sdefinition ofaçsclaim .'' SeeArbitration

ResponseED.E.25j.
       TheEleventhCircuitheldthatasimilararbitrationprovisionwasnotbroadenoughtosubjectthe
plaintiff'spost-agreem entTCPA claim to arbitration. See G am ble,735 F.App'x at667. In G am ble,the

plaintifffiled aTCPA claim againstthedefendant,an auto loan financing company,afterreceiving text

m essagesfrom thedefendantseekingnew business.1d.at664-65.Theplaintiffh
                                                                      . ad signed an autoloan

agrèem entthatcontained an azbitration provision,which required arbitration ofany EGclaim ,dispute or

controversy...whetherpreexisting,presentorfuttlre,thatinanywayarisesfrom orrelatesto gtheauto
loanagreementl.''1d.at665.TheEleventhCircuitaffrmedthedistrictcourt'sdenialofthedefendant's
m otion to com pelarbitration, holding thatthe TCPA claim arose çkfrom post-agreem entconductthat

allegedly violatesa separate,distinctfederallaw .'' Id.at666.

       Here,afterthe conclusion ofViasat's accountrelationship with Plaintiff,itallegedly provided

Accelerated with Plaintiffstelephone number,ànd Accelerated sentthe TextM essage. See Am ended

Complaint(D.E.12 at7-8). Therefore,liketheclaim in Gnmble,PlaintiffsTCPA claim aroseGçfrom
post-agreementconductthatallegedlyviolatesaseparate,distincsfederallaw,''andisnotcoveredbythe

A greem ent. See Gam ble,735 F.A pp'x at666.




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       Additionally,the Arbitration Provision expressly defines a çtclaim''asGsany legalor equitable
         ?                                                     .

claim relatingtothisAgreement,anyaddendum,or(PlaintiffsjService.''SeeAgreement(D.E.15-1at
6).Thus,thatdefinitionoftçclaim''governsconstruction oftheAgreement.SeeA11.M etalseInc.,222
F.3d at903. Notwithstanding the Eleventh Circuit'sholding in Gamble,ViasatarguesthatPlaintiffs

TCPA claim issubjecttoarbitrationbecauseitmeetsthisdefinitionofaEtclaim.''SeeArbitrationReply
(D.E.27 at5j. Specifically,ViasatcontendsthatthePrivacy Policy,whichwasincorporated intothe
Agreement,expressly covers,amongotherthings,Viasat'scollectionofcustomerinformation,including

phonenumbers?and the useofsuch information to marketitsservicesorto engage third partiesto help

itmarketitsservices.1d.;seePrivacyPolicy(D.E.27-1at7j.Consequently,Viasatarguesthatbecause
the issueofwhetherPlaintiffconsented to the TextM essagerequiresan examination oftheA greement
   .




and the incorporated Privacy Policy,Plaintiffs TCPA claim relates to the Agreem entand is thus a

tsclaim''coveredbytheArbitrationProvision.SeeArbitration Reply ED.E.27at5q.
       H owever,V iasat's argum ent fails because the portion ofthe Privacy Policy on which it relies

conflictswiththeContactProvision,which stated thatViasatcould usePlaintiff'sinformationtocontact

him Gtfor: (a) any account-related issues by calling or texting ghim)at such numberts) using a
prerecorded/m iticialvoice ortextmessage delivered by an autom atictelephone dialing system and/or

using a callmade by live individuals,alzd/or (b) forany account-related issues or for marketing
purposesby sending an e-m ailtosuch e-mailaddress.'' SeeAgreement(D.E.15-1at6j(emphasis
added).Hence,theContactProvisionexplicitlylimitedViasat'sabilitytocontactPlaintiffformarketing
purposesto sending him e-m ails. 1d.G iven this restriction,V iasatcnnnotrely on the Privacy Policy to

render PlaintiY s text m essage based TCPA claim within the definition of a :iclaim .'' Therefore,

Plaintic sTCPA claim isnotsubjecttoarbitration.
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                                     M O TIO N T O DISM ISS

                                          A pplicable Law

       UnderRule12(b)(6)oftheFederalRulesofCivilProcedure(hereafter,çGRule12(b)(6)''),aparty
may m oveto dism issa cgmplaintforGtfailtlreto state a claim upon which reliefcan be granted.'' Fed.

R.Civ.P.12(b)(6).GThegcjoul'
                           tdoesnotview eachfactin isolation...butconsidersthecomplaintin
itsentirety.'' LeaderGlob.Sols.sLLC v.Tradeco Infraestructura.S.A .DE C.V .,155F.Supp.3d 1310,

1315(S.D.Fla.2016)(citingTellabs.Inc.v.M akorIssues& Itizhts.Ltd.,551U.S.308,322 (2007:.
                                                      '                        .

A (,
   Gcomplaintm ustallege sufficientfactsto state a plausible claim to relief.'''1d.(citingAshcroftv.

Iqbal,556U.S.662,678(2009:.A claim isfaciallyplausibleçtwhentheplaintiffpleadsfactualcontent
thatallowsthe courtto draw the reasonable inference thatthe defendantis liable forthe misconduct

alleged.'' Iubal,556 U.S.at678. W hiledetailed factualallegationsarenotnecessary,1ç(a)plaintiffs
obligation toprovidethegrotmdsofhisentitlem entto reliefrequiresm orethan labelsand conclusions,

andaformulaicrecitation ofacauseofaction'selem entswillnotdo.''BellAtl.Com .v.Twombly,550

U.S.544,545(2007)(citationsandquotationsomitted).W henreviewingamotiontodismiss,thecourt
viewsthe complaintin tlke lightmostfavorable to the plaintiffand accepts the plaintiffs facmal
allegationsastnle. LeaderGlob.Sols.,155 F.Supp.3d at1315.

       The TCPA states:

       lt shall be tm law ful for any person within the U nited States,or any person outside the
       United StatesiftherecipientiswithintheUnited States-

       (A)tomakeanycall(otherthanacallmadeforemergencypurposesormadewiththeprior
       expressconsentofthe called party)using any automatictelephone dialing system oran
       artitk ialorprerecorded voice- ...

       (iii)to any telephone ntlmberassigned to a paging service,cellulartelephone service,
       specializedmobileradio selwice,orotherradiocommoncarrierslrvice,orany servicefor
       w hich the called party is charged forthe call,unless such callism ade solely to collecta
       debtowedto orguaranteed bytheUnited States.


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47U.S.C.j227(b)(1)(A)(iii).
       TheTCPA definesan ATDS asGsequipmentwhich hasthe capacity- tA)to store orproduce
telephonenumbersto becalled,using arandom orsequentialnumbergenerator;and (B)todialsuch
numbers.''47U.S.C.j227(a)(1).Thisdefnition ofanATDS Giincludesadevicethatstorestelephone
nllmbersto be called,whetheror notthose numbershave been generated by a random or sequential

ntlmbergenerator.''M arksv.CnmchSanDieco.LLC,904F.3d 1041,1043(9th Cir.2018);Adnmsv.
Ocwen Loan ServicincsLLC,No.18-81028-CIV,2018W L 6488062,at*3 (S.D.Fla.Oct.26,2018).
A device m ay qualify as an ATDS if it Gistores nmnbers and dials them autom atically to send text

messagesto astored listofphonenumbersaspm'to'
                                            fscheduled cam paigns.'' M arks,904F.3dat1053
                                                                                       .




(holdingthatevidenceofsuchadeviceissufficienttosulvivesummaryjudgmept).
       Açcordingly,to stateaclaim foraviolation oftheTCPA,aplaintiffm ustsetforth sufticientfacts

supportingthat:ç1(1)acallwasmadetoacellorwirelessphone,(2)bytheuseofan automaticdialing
system planartifkialorprerecorded voice,and(3)withoutpriorexpressconsentofthecalled party.'
        ..                                                                                '
Adams,2018W L 6488062,at*2(citationsomitled)(emphasisinoriginal).A plaintiffmaynotmerely
recite the statutory elements ofthe use'ofan ATDS orprerecorded voice withoutalleging additional

suppbrtingfacts.Ld-aat*4.GtplaintiffsallegingtheuseofaparticulartypeofequipmenttmdertheTCPA
are generally required to rely on indirectallegations,such asthe contentofthe message,the contextin

w hich itw as received,and the existence of sim ilar m essages,to raise an inference that an autom ated

dialerwasutilized.Priorto theinitiation ofdiscovery,courtscannotexpectmore.''Scot'
                                                                                 tv.360 M ortc.

Gp ..LLC,No.17-cv-61055,2017U.S.Dist.LEXIS207513,at*17(S.D.Fla.Dec.14,2017)(citations
omitted).




                                                  9
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                                              D iscussion

        DIRECTV arguesthatPlaintifffailedtoallegefactssuffcienttoshow thatïheTextM essagewas
 sentbyanATDS.SeeM otiontoDismiss(D.E.20q.TheAmended Complaintprovidesascreenshotof
 the TextM essage and alleges thatthe im personaland generic nature ofthe TextM essage dem onstrates

 thatDefendantsusedan ATDS. SeeAmended ComplaintrD.E.12 at7-8j. Plaintiffalsoallegesthat
 Defendantssentthe'-l-extMessagebyusingaçtlongcode,''whichenabledtyem GGtosendtextmessages
 en masse,while deceiving recipièntsipto believing thatthe message waspersonalized and sentfrom a

 telephone numberoperated by'an ihdividual,''and a combination ofhardware and software system s,

 çtw hich have the capacity to generate Qr store random or sequentialnllm bers or to dial sequentially or

 randomlyinanautomatedfashionwithouthumanintervention.''J#.
                                                          .at9.Giventheseallegations,which
 suggestthattheTextM essagewassenttoamassaudiencebyanautodialfunction,theundersigned finds

 that,forpurposesofthe M otion to Dism iss,Plaintiffhassuo ciently alleged a claim underthe TCPA.

 Defendantsm ay renew the argum entofwhetherthe equipm entujed in thiscase wasan ATD S atthe

 sllmma-
       ryjudgmentstage,afterthepartieshaveconducted discovery on thisissue. SeeAdams,2018
 W L 6488062,at*4 (denying a motion to dismiss butallowing the defendantto raise.atsummary
                l

 judgmenttheissueofwhetheranATDSwasused).
        Alternatively,DIRECTV arguesthatthecase shouldbestayed pendingcom pletion oftheFCC'S

 nzlemakingprocesson theissueofwhatconstitutesan ATDS. SeeM otiontoDismiss(D.E.20at14-
 19j.However,theundersigned findsthatsuchastayGGwouldbeindesniteand solely intheinterestsof
 judicialeconomy,whichtheSupremeCourthasfoundtobeinsuffcientjustificationforastaypending
 a sim ilarproceeding.'' M anciniv.JpM organ Chase Bank.N .A .,N o.1:15-'
                                                                        cv-61524,2016 W L 1273185,

 at*1(S.D.Fla.M ar.28,2016)(citing Landisv.North American Co.s299U.S.248,257 (1936)and.



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 denying a motion to stay a TCPA case pending the outcom e of a case determining whatequipment

 constitutesanATDS).
                                        C O N CLU SIO N

       Based on the foregoing,itis

       ORDERED AND ADJUDGED thatViasat's M otion to CompelAl'bitration (D.E.15jis
 DENIED .Itisfurther

       ORDERED AND ADJUDGED thatDIRECTV'SM otiontoDismissED.E.20)isDENIED.
       DONEANDORDEREDinChambersatMiami,FloridathisQD-cayo
                                                        'fFebruary,2019.

                                                    W     ..
                                                A LICIA M .OTA ZO - Y ES
                                                UN ITED STA TES M A GISTM TE JU D GE

 cc:   United StatesDistrictJudge JoseE.M artinez
       Cotm selofRecord




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